        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 1 of 6




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 8
                               UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11                                                  Case No. 4:21-mc-80084
   IN RE EX PARTE APPLICATION OF
12 WOORI BANK AND KWANG SEOK                        DECLARATION OF KEEBONG PAEK
13 KWON PURSUANT TO 28 U.S.C. § 1782                IN SUPPORT OF EX PARTE
                                                    APPLICATION TO ISSUE A SUBPOENA
14                           Applicants.            PURSUANT TO 28 U.S.C. § 1782

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                                                -1-                                   Case No.
     SMRH:4844-1545-5715.7                 KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                      FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 2 of 6




 1                                  DECLARATION OF KEEBONG PAEK

 2                     I, Keebong Paek, declare as follows:

 3            1.       I am currently a senior attorney at the law firm Kim & Chang in the Republic of

 4 Korea and have been practicing law in Korea since 2014. I am an attorney for Woori Bank and

 5 Kwang Seok Kwon (“Applicants”) in Korea. I have personal knowledge of the facts set forth

 6 herein, which are known by me to be true and correct, and if called as a witness, I could and would

 7 competently testify thereto.

 8            2.       This declaration is submitted in support of Applicants’ Ex Parte Application for

 9 Subpoena Pursuant to Section 1782.

10            3.       On February 16, 2021, the anonymous person with the username “Ijlij!llij” made a

11 post on the social media platform called “Blind” attacking Woori Bank’s Representative Director

12 (equivalent to President and CEO), Mr. Kwang Seok Kwon (the “February 16 Post”). The

13 February 16 Post included a photo of a middle-aged man kissing a young woman on the cheek (the

14 “Photo”) and asserted that Mr. Kwon is the individual pictured in the Photo.

15            4.       On February 26, 2021, accounts with user names “I Disagree” and “Last question”

16 made four additional posts on the Blind platform reposting the Photo (the “February 26 Posts”,

17 together with the February 16 Post, the “Posts”). The Posts were made to the Woori Bank

18 “channel” on the Blind platform. According to Blind platform’s documentation, including the
19 FAQ discussed further below, this means that the Posts were made by a Woori Bank employee,

20 since the person had to register with the Blind platform using a Woori Bank email address.

21            5.       The Blind platform holds itself out as a “community” where “verified professionals

22 connect to discuss what matters most.” Attached hereto as Exhibit A is a true and correct copy of

23 the Blind platform’s “About Us” page printed from the website https://www.teamblind.com/about.

24 Attached hereto as Exhibit B is Blind’s “FAQ” page printed from the website Blind

25 https://www.teamblind.com/faqs. Attached hereto as Exhibit C is Blind’s Terms of Use printed

26 from the website https://us.teamblind.com/setting/term .

27            6.       Attached hereto as Exhibit D is a printout from the California Secretary of State

28 website providing information about Teamblind, Inc.’s business registration. Attached hereto as at
                                                      -1-                                   Case No.
     SMRH:4844-1545-5715.7                       KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                            FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 3 of 6




 1 Exhibit E is Teamblind, Inc.’s corporate Statement of Information obtained from the California

 2 Secretary of State’s website at

 3 https://businesssearch.sos.ca.gov/Document/RetrievePDF?Id=03680314-28441725. These

 4 documents show that Teamblind is a Delaware corporation registered to do business in California,

 5 with its principal place of business listed as 2001 Addison Street, Suite 300, Berkeley, CA 94704.

 6            7.       Teamblind has a branch office in South Korea. However, as explained further

 7 below, Teamblind appears to be maintaining its position that it doesn’t have information for user

 8 identification and its Korea branch has no authority to access its server located at its US office.

 9            8.       On February 17, 2021, the Applicants filed a complaint with the Namdaemoon

10 Police Station in Seoul against the anonymous “Doe” who posted the February 16 Post. The

11 criminal complaint asserts, among other things, violations of Korea’s laws against defamation and

12 distribution of defamation using electronic communications systems, and distribution of false

13 photographs that cause sexual humiliation. Attached hereto as Exhibit F is a true and correct copy

14 of the first criminal complaint filed on February 17, 2021. This document had the file name

15 “Criminal Complaint Submitted.” Attached hereto as Exhibit G is an English translation of the

16 first criminal complaint (excluding certain exhibits). Attached hereto as Exhibit H are the

17 translator’s certificates attesting to the accuracy of Exhibit G and the other English language

18 translations attached to this declaration.
19            9.       After the February 26 Posts were made, on March 15, 2021, Woori Bank and Mr.

20 Kwon filed a second police complaint against the anonymous person or persons who posted the

21 February 16 and February 26 Posts for attempted interference with the Bank’s business operations,

22 including intimidating and coercing Mr. Kwon to give up on serving consecutive terms as the

23 Representative Director of Woori Bank. Attached hereto as Exhibit I is a true and correct copy of

24 the second criminal complaint filed on March 15, 2021. This document had the file name

25 “Additional Criminal Complaint.” Attached hereto as Exhibit J is an English translation of the

26 second criminal complaint (excluding certain exhibits). Applicants also updated their first

27 criminal complaint. Attached hereto as Exhibit K is a true and correct copy of the update to the

28 first criminal complaint. This document had the file name “Additional Memorandum re Criminal
                                                     -2-                                   Case No.
     SMRH:4844-1545-5715.7                      KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                           FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 4 of 6




 1 Complaint.” Attached hereto as Exhibit L is an English translation of the update to the first

 2 criminal complaint (excluding certain exhibits).

 3            10.      It is expected that the Korean police will investigate the alleged crimes, and as a

 4 part of their investigation, the Korean police may be considering to conduct search and seizure to

 5 collect evidence from Teamblind’s Korean branch. However, public news reports indicate that

 6 attempts to obtain information will be unsuccessful. Attached hereto as Exhibit M hereto is a

 7 news report in Korean explaining Teamblind’s claim, which is that it is difficult for the Korean

 8 branch to provide subscribers’ personal information because these are encrypted, and such

 9 encrypted information do not contain information that can be used for identification. Attached

10 hereto as Exhibit N is an English translation of the Korean news report.

11            11.      On March 4, 2021, the Applicants filed a civil action 2021 GaHap15598 against

12 John (Jane) Doe with the Seoul Central District Court (the “Korean Civil Action”). Attached

13 hereto as Exhibit O is the Complaint filed in the Korean Civil Action. This document had the file

14 name “Civil Complaint_(against_anonymous_users)-2021GaHap515598.” Attached hereto as

15 Exhibit P is an English translation of the Complaint in the Korean Civil Action (excluding certain

16 exhibits).

17            12.      The Korean Civil Action alleges defamation, insult, sexual humiliation,

18 interference with business, and coercion. The Korean Civil Action states strong claims under
19 Korean law, which would survive the equivalent of a motion to dismiss under Korean law. For

20 example, to bring a claim for defamation under Korean law, the plaintiff must allege and prove (1)

21 that the purpose of the communication was to slander; (2) that the communication was made

22 publicly; and (3) that the fact (section 1) or false fact (section 2) was communicated to disparage

23 the reputation of the person. The Complaint in the Korean Civil Action easily alleges these factors

24 as shown in Exhibit P hereto.

25            13.      Because the Applicants do not know the identity of the person or persons

26 responsible for the Posts, they were forced to file the Korean Civil Action against a “Doe”

27 defendant. If Applicants are unable to obtain information leading to the identity of the Doe

28 defendant, Applicants will have no choice but to drop the Korean Civil Action.
                                                       -3-                                   Case No.
     SMRH:4844-1545-5715.7                        KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                             FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 5 of 6




 1            14.      In order to attempt to learn the identity of the Doe defendant or defendants, the

 2 Bank and Mr. Kwon filed two additional civil actions in Korea against Teamblind, Inc. and its

 3 CEO Sunguk Moon. One action alleges claims based on Teamblind’s failure to filter/remove the

 4 defamatory Posts despite multiple requests to do so. The other action demands that Teamblind

 5 preserve evidence, for future collection by legal authorities through on-site examination and

 6 document production orders, that could potentially identify the person(s) who uploaded the Posts,

 7 including IP address information and information related to the accounts that uploaded the Posts.

 8            15.      In response to the civil actions brought against Teamblind, Inc., Teamblind claims

 9 that (i) its Korean branch does not have access to, or authority to access Teamblind’s server, and

10 (ii) the server does not contain information that can be used to identify users. As mentioned above,

11 publicly available news reports confirm Teamblind’s position that it is difficult for them to

12 provide user information in Korea. Thus, I believe the only way to obtain the information

13 requested in this Application is via an order issued to Teamblind, Inc. from a U.S. Court.

14            16.      There is no Korean law or rule of procedure that would prohibit Applicants from

15 submitting the information sought through this Section 1782 Application to the Seoul Central

16 District Court and the Namdaemoon Police Station. Furthermore, there is no reason that the

17 Korean court would be unreceptive to discovery obtained via this Section 1782 Application.

18            17.      Korean law does not prohibit or restrict the type of discovery sought by this Section

19 1782 Application. Under Korean law, the same types of information could be ordered to be

20 produced by the Korean court. Nevertheless, in practice, it would be very difficult to obtain the

21 information from Teamblind’s Korean branch (even through search and seizure) because

22 Teamblind claims that its Korean branch does not have access to the server.

23            18.      The discovery sought by the Applicants in this district will be used to identify the

24 true identity of the Doe defendant(s) in the ongoing criminal and civil proceedings in Korea.

25 Applicants seek the identity of Doe to submit to the Korean police in connection with the Korean

26 criminal complaints that Applicants have filed against Doe. The information sought will also

27 assist the civil action against Doe, in which Mr. Kwon seeks to pursue lawful claims that would

28 redress his harm by demonstrating the falsity of the Posts and his innocence. If Applicants are able
                                                      -4-                                   Case No.
     SMRH:4844-1545-5715.7                       KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                            FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-4 Filed 04/20/21 Page 6 of 6




 1 to obtain information concerning the date and time of the creation of the Posts uploaders'

 2   Teamblind account(s), it would be possible to identify the uploaders of the Posts by matching that

 3 information with the information stored in Woori Bank's email servers, to locate the specific

 4 Woori Bank email account that communicated with Teamblind at the time that the Teamblind

 5 account was being created. If Applicants are able to obtain the IP address of the user who made

 6 the Posts, then Applicants can seek discovery from the relevant internet service provider in Korea

 7 to identify the subscriber who made the Posts. Similarly, location information could locate the

 8 person to a house or apartment building in Korea that might be matched to the address of a Bank

 9 employee. Alternatively, if the user made purchases on the Blind platform, they may have

10 provided a payment address or an email address that could be used to identify the person.

11            I declare under penalty of perjury under the laws of the United States of America that the

12 foregoing is true and correct.

13            Executed on this 8th day of April, 2021, at Seoul, Republic of Korea.

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                                                    -5-                                   Case No.
     SMRH:4844-1545-5715.7                     KEEBONG PAEK DECLARATION ISO EX PARTE APPLICATION
                                                         FOR SUBPOENA PURSUANT TO 28 U.S.C. § 1782
